                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


   IN RE:       Shelly Mae Dickensheets fka
   Shelly M Groft fka Shelly Keeney aka Shelly
   M Dickensheets fka Shelly Mae Groft                                            Chapter 13
         Daniel N. Dickensheets aka Dan N
   Dickensheets
                                Debtor(s)
                                                                            NO. 19-00983 HWV
   The Bank of New York Mellon as Trustee for
   CWABS, Inc. Asset-Backed Certificates,
   Series 2006-11
                          v.
   Shelly Mae Dickensheets fka Shelly M Groft
   fka Shelly Keeney aka Shelly M Dickensheets
   fka Shelly Mae Groft
   Daniel N. Dickensheets aka Dan N
   Dickensheets
                          and
   Charles J. DeHart, III Esq.
                                Trustee

                                                  ORDER

         Upon Consideration of the Certification of Default filed by the Moving Party in accordance with the
 Stipulation of the parties approved on February 3, 2020 it is ORDERED AND DECREED that:
         The Automatic Stay of all proceedings, as provided under 11 U.S.C. Sections 362 and 1301 of the
 Bankruptcy Reform Act of 1978 (The Code) 11 U.S.C. 11 U.S.C. Sections 362 and 1301 (if applicable), is
 modified to allow The Bank of New York Mellon as Trustee for CWABS, Inc. Asset-Backed Certificates,
 Series 2006-11 and its successor in title to proceed with the execution process through, among other remedies
 but not limited to Sheriff's Sale regarding the premises 40 Sandy Court Hanover, PA 17331.
         The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




Case 1:19-bk-00983-HWV             Doc 98-2 Filed 03/11/21 Entered 03/11/21 13:37:50                             Desc
                                    Proposed Order Page 1 of 1
